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     Attorneys for Plaintiffs
 9
                                  UNITED STATES DISTRICT COURT
10                              NORTHERN DISTRICT OF CALIFORNIA
11

12    IN RE: ROUNDUP PRODUCTS                                     MDL No. 2741
      LIABILITY LITIGATION
13                                                                Case No. 16-md-02741-VC
14
      This document relates to:
15
      Stevick v. Monsanto Co., 3:16-cv-02341-VC
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17
            DECLARATION OF BRIAN K. BRAKE IN SUPPORT OF PLAINTIFFS’
18        OPPOSITION TO MOTION TO EXCLUDE TESTIMONY OF DR. WILLIAM
                         SAWYER ON DAUBERT GROUNDS
19
            I, Brian K. Brake, hereby declare as follows:
20

21          1.      I am an attorney at the law firm of The Miller Firm LLC, counsel for Plaintiffs

22   Elaine and Christopher Stevick. I make this declaration in support of Plaintiffs’ Opposition to
23
     Motion to Exclude Testimony Dr. William Sawyer on Daubert Grounds. I make this
24
     declaration based on my personal knowledge and, if called as a witness, I would and could
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     testify competently to these matters.
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       BRAKE DECLARATION IN OPPOSITION TO MOTION TO EXCLUDE TESTIMONY OF DR. WILLIAM
                               SAWYER ON DAUBERT GROUNDS
            Case 3:16-md-02741-VC Document 8692-1 Filed 01/03/20 Page 2 of 2



 1          2.     Annexed hereto as Exhibit A is a true and correct copy of the Declaration and
 2
     CV of Dr. William Sawyer.
 3
            3.     Annexed hereto as Exhibit B is a true and correct copy of portions of the trial
 4
     transcript taken in Johnson v. Monsanto, (Superior Court of California, County of San
 5

 6   Francisco, Case No. CGC-16-550128), dated July 26, 2018.

 7          4.     Annexed hereto as Exhibit C is a true and correct copy of portions of the trial
 8
     transcript taken in Pilliod v. Monsanto (Superior Court of California, County of Alameda, Case
 9
     No. RG17862702), dated April 11, 2019.
10
            I hereby declare under penalty of perjury that the facts set forth herein are true and
11

12   correct. Executed this 3rd day of January 2020.

13
                                                   By: _/s/Brian K. Brake__________________
14
                                                       Michael J. Miller, Esq. (pro hac vice)
15                                                     Brian K. Brake, Esq. (pro hac vice)
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       BRAKE DECLARATION IN OPPOSITION TO MOTION TO EXCLUDE TESTIMONY OF DR. WILLIAM
                               SAWYER ON DAUBERT GROUNDS
